     Case 4:20-cv-02022 Document 8 Filed on 12/04/20 in TXSD Page 1 of 13
                                                                       United States District Court
                                                                         Southern District of Texas

                                                                            ENTERED
                  IN THE UNITED STATES DISTRICT COURT                   December 04, 2020
                   FOR THE SOUTHERN DISTRICT OF TEXAS                    David J. Bradley, Clerk
                            HOUSTON DIVISION


ISIDRO REBOLLAR MENDOZA,        §
and AURORA JAIMES AGUIRRE,      §
                                §
     Plaintiffs,                §
                                §
V.                              §             CIVIL ACTION NO. H-20-2022
                                §
CHAD F. WOLF, Acting Secretary, §
U.S. Department of Homeland     §
Security; KENNETH CUCCINELLI,   §
Acting Director of U.S.         §
Citizenship and Immigration     §
Services; WALLACE L. CARROLL,   §
Director of U.S. Citizenship    §
and Immigration Services,       §
Houston Field Office;           §
In their Official Capacities,   §
                                §
     Defendants.                §


                      MEMORANDUM OPINION AND ORDER

      Plaintiffs,    Isidro Rebollar Mendoza            ("Mr.   Mendoza"),          and

Aurora Jaimes Aguirre ("Ms. Aguirre"), bring this action pursuant

to   the    Immigration     and    Nationality        Act   ("INA")      and        the

Administrative      Procedure     Act       ("APA")   against    the    following

defendants in their official capacities:               Chad F.    Wolf,       Acting

Secretary of the United States Department of Homeland Security;

Kenneth Cuccinelli, Acting Director of United States Citizenship

and Immigration Services;         and Wallace L. Carroll,          Director of

United States Citizenship and Immigration Services, Houston Field

Office.    Plaintiffs seek

      a judgment declaring that the decision made by the U.S.
      Citizenship and    Immigration Services     (USCIS)  on

                                        1
    Case 4:20-cv-02022 Document 8 Filed on 12/04/20 in TXSD Page 2 of 13




     Plaintiffs' Applications for Adjustment of Status (Forms
     I-485), and subsequently on the Motions to Reconsider
     (Form[s] I-290B) are contrary to the law and applicable
     precedents, and declaring that the Plaintiffs' Forms I-
     485 . . . be approved so they can obtain Lawful Permanent
     Residence in the United States. 1

Pending     before    the   court   is       Defendants'   Motion   to    Dismiss

Plaintiffs' Complaint for Declaratory Judgment ("Defendants' Motion

to Dismiss") (Docket Entry No. 6).              Defendants move the court to

dismiss     plaintiffs'     complaint        "for   lack   of   subject   matter

jurisdiction and failure to state a claim for relief under Federal

Rules of Civil Procedure 12 (b) (1) and 12 (b) (6), respectively. " 2          In

the event that the court decides to grant Defendants' Motion to

Dismiss, plaintiffs request leave to amend their complaint to cure

deficiencies. 3      For the reasons stated below, Defendants' Motion to

Dismiss will be granted for lack of subject matter jurisdiction,

plaintiffs' request to amend will be denied as futile, and this

action will be dismissed without prejudice.




     1
      Complaint for Declaratory Judgment ("Plaintiffs' Complaint"),
Docket Entry No. 1, p. 1.     All page numbers for docket entries
refer to the pagination inserted at the top of the page by the
court's electronic filing system, CM/ECF.
     2
         Defendants' Motion to Dismiss, Docket Entry No. 6, p. 1.
     3
      Plaintiffs' Response in Opposition to Defendants' Motion to
Dismiss Pursuant to Rule 12 (b) (1) and 12 (b) (6) ("Plaintiffs'
Response in Opposition"), Docket Entry No. 7, p. 5 �� 19-20.

                                         2
     Case 4:20-cv-02022 Document 8 Filed on 12/04/20 in TXSD Page 3 of 13




                           I. Plaintiffs' Complaint

A.      Plaintiffs' Statement of Relevant Facts4

        Plaintiffs, a married couple,      are citizens of Mexico.          On

August 28, 2018, plaintiffs each filed an Application to Register

Permanent Residence or Adjust Status (Form r-485) with the users.

The applications were based on Mr. Mendoza's receipt of an approved

employment-based visa petition.           On June 12,     2019,   plaintiffs

appeared before an immigration officer at the users Houston Field

Office for adjustment of status interviews.          During his interview,

Mr. Mendoza testified that the information on his application was

true and correct, that he entered the United States in January of

1994 without inspection, departed the United States in March of

1998,       and then re-entered the United States on June 1,            1998,

without inspection.        Ms. Aguirre testified that the information on

her application was true and correct, that she entered the United

States in January of 1993 without inspection, departed the United

States in December of 1997, and re-entered the United States on

June 10, 1998, without inspection.

        On August 8, 2019, users denied the plaintiffs' Applications

to Register Permanent Residence or Adjust Status (Forms I-485).

The denials stated that each plaintiff was inadmissible under

§§ 212 (a) (9) (B) and 245 (a) (2) of the INA, 8 U.S.C. §§ 1182 (a) (9) (B)




        4
            Plaintiffs' Complaint, Docket Entry No. 1, pp. 3-5 �� 10-19.

                                      3
     Case 4:20-cv-02022 Document 8 Filed on 12/04/20 in TXSD Page 4 of 13



and 1255(a)(2), and that there was no appeal from the decision, but

that motions to reopen or to reconsider could be filed. 5

       On August 20, 2019, each plaintiff filed a Form I-290B, Notice

of Appeal or Motion, seeking reconsideration of the            users   decision

denying their applications for adjustment of status. Acknowledging

that       §   212(a) (9) (B) (i) (I)       of   the    INA,      8      u.s.c.
§ 1182(a)(9)(B)(9)(i)(I) creates temporary 3- and 10-year bars to

an alien's admissibility following departure from the United States

after having been unlawfully present for certain periods of time,

plaintiffs argued that the USCIS' denials of their applications

were clearly erroneous as a matter of law because that section of

the INA did not require them to remain outside of the United States

during their periods of inadmissibility.6

       On May 4, 2020,    users   denied plaintiffs' Forms I-290B. 7



B.     Plaintiffs' Claims

       On June 9, 2020, plaintiffs filed this action asserting two

claims for relief.       First, citing§ 210(b)(6) of the INA, 8 U.S.C.

§ 1160(b)(6), plaintiffs assert that "they should not have been


      See Decision on From I-485, dated August 8, 2019, Exhibit A
       5

to Plaintiffs Complaint,     Docket Entry No. 1-1, pp. 11-12
(Ms. Aguirre), and Docket Entry No. 1-2, pp. 11-12 (Mr. Mendoza).
      See Plaintiffs' Form I-290B, Exhibit C to Plaintiffs'
       6

Complaint, Docket Entry No. 1-1, pp. 3-4 (Ms. Aguirre), and Docket
Entry No. 1-2, pp. 3-4 (Mr. Mendoza).

      See Decisions on Form I-290B, date May 4, 2020, Exhibit B to
       7

Plaintiffs' Complaint, Docket Entry No. 1-1, pp. 1-2 (Ms. Aguirre),
and Docket Entry No. 1-2, pp. 1-2 (Mr. Mendoza).

                                        4
     Case 4:20-cv-02022 Document 8 Filed on 12/04/20 in TXSD Page 5 of 13

found inadmissible under             [§]   212 (a) (9) (B) of the INA, since the

three year statutory period of time had been satisfied." 8                   Second,

citing        the     APA,    5   U.S.C.    §       706,   plaintiffs   assert   that

"[d]efendants' denial of [their] applications for adjustment of

status was arbitrary, capricious, and not in accordance with the

law. " 9       Plaintiffs ask the court to                 "[d]eclare [d]efendants'

decision denying [their] applications for adjustment of status to

be a violation of applicable provisions in the INA and APA, [and to

o]rder [d]efendants to approve [their] applications for adjustment

of status." 10



                        II. Defendants' Motion to Dismiss

       Asserting that the denials of plaintiffs' adjustment of status

applications are not final agency actions, defendants argue that

Plaintiffs'          Complaint should be dismissed for lack of subject

matter jurisdiction because plaintiffs have failed to exhaust their

administrative remedies.11            Defendants also argue that "even if the

Court finds it has subject matter jurisdiction, it should dismiss

the Plaintiffs'          Complaint for failure to state a claim,                 since

USCIS'       decisions denying the adjustment applications were not

arbitrary, capricious, or otherwise contrary to law." 12


       8
           Plaintiffs' Complaint, Docket Entry No. 1, p. 5 � 21.
       9
           Id. at 5-6 �� 23-24.
       10
            rct. �   25(b)-©.

       11 Defendants'        Motion to Dismiss, Docket Entry No. 6, pp. 5-6.
       12
            Id. at 9.

                                                5
         Case 4:20-cv-02022 Document 8 Filed on 12/04/20 in TXSD Page 6 of 13



          Plaintiffs respond that "[t]he Court has jurisdiction under 28

U.S.C. § 1331 (federal question); 28 U.S.C. § 2201(a)(declaratory

judgment); and the APA, 5 U.S.C. § 702 et seq. (person suffering

legal wrong because of agency action)." 13                     Recognizing that courts

lack jurisdiction to review the denial of discretionary relief

under 8 U.S.C. § 1255, and citing Melendez v. McAleenan, 928 F.3d

425 (5th Cir.), cert. denied, 140 S. Ct. 561 (2019), plaintiffs

argue          that    "the    jurisdictional       bar   of    the    [INA],     8   U.S.C.

§ 1252(a)(2)(B)(ii),                is not applicable because the Court can

consider a non-discretionary decision made by users denying an

adjustment of status application." 14                 Acknowledging that they have

each been issued a Notice to Appear, "[p]laintiffs argue that all

administrative remedies have been exhausted in this case since they

filed .                Form[s] I-290B, Notice of Appeal or Motion, seeking

reconsideration               of   the   decision   denying      the    application      for

adjustment of status." 15                Plaintiffs also argue that "[t]he Court

should deny Defendants' motion to dismiss for failure to state a

claim           because      Plaintiffs     have    presented         well-pled       factual

allegations, which assert a claim for relief that is plausible on

its face and gives rise to an entitlement for relief." 16



          13
               Plaintiffs' Response in Opposition, Docket Entry No. 7, p. 2
<JI 9.
          14
               Id. at 2-3 <JI 9.
          15
               Id. at 3 <JI 10.
          16
               Id. <JI 14.

                                               6
     Case 4:20-cv-02022 Document 8 Filed on 12/04/20 in TXSD Page 7 of 13




A.    Standard of Review

      When a Rule 12(b)(1) motion is filed together with other Rule

12 motions,     the court should address the jurisdictional attack

before addressing any attack on the merits.                   Ramming v.   United

States, 281 F.3d 158, 161 (5th Cir. 2001), cert. denied sub nom.

Cloud v. United States,         122 S. Ct. 2665 (2002).              "A case   is

properly dismissed for lack of subject matter jurisdiction when the

court lacks the statutory or constitutional power to adjudicate the

case."     Home Builders Association of Mississippi, Inc. v. City of

Madison, Mississippi,       143 F.3d 1006,            1010 (5th Cir. 1998).    In

examining a Rule 12(b) (1) motion, the district court is empowered

to consider matters of fact which may be in dispute.                    "Lack of

subject matter jurisdiction may be found in any one of three

instances: (1) the complaint alone; (2) the complaint supplemented

by undisputed facts evidenced in the record; or (3) the complaint

supplemented by undisputed facts plus the court's resolution of

disputed facts."      Id.      "The burden of proof for a Rule 12(b) (1)

motion     to   dismiss   is   on   the       party    asserting   jurisdiction."

Ramming,    281 F.3d at 161.        Dismissal on jurisdictional grounds

alone is not on the merits.         Id.       (citing Hitt v. City of Pasadena,

561 F.2d 606, 608 (5th Cir. 197 7) (per curiam) ( "Dismissal

for failure to state a claim is a decision on the merits

whereas a dismissal on jurisdictional grounds alone is not on the

merits.")).


                                          7
     Case 4:20-cv-02022 Document 8 Filed on 12/04/20 in TXSD Page 8 of 13




B.     The Court Lacks Subject Matter Jurisdiction because Plaintiffs
       have Failed to Exhaust Their Administrative Remedies

       "The APA confers a general cause of action upon persons

'adversely affected or aggrieved by agency action within the

meaning of a relevant statute.'"               Block v. Community Nutrition

Institute, 104 S. Ct. 2450, 2453 (1984) (quoting 5 U.S.C. § 702).

Judicial review of agency actions under the APA is not available

when the relevant "statute[] preclude[s] judicial review," or when

the "agency action is committed to agency discretion by law."                    5

U.S.C. § 70l(a)(1)-(2).          Moreover, judicial review is permitted

only where "[a]gency action [is] made reviewable by statute," and

where there has been a "final agency action for which there is no

other adequate remedy in a court."             5 U.S.C. § 704.

       Asserting that "[t]he applicable regulations for adjustment of

status applications provide that an applicant may renew a denied

adjustment        application   in   removal   proceedings   under     8    U.S.C.

§    1229a," 17    and   that   "[p]laintiffs     were   placed   in       removal

proceedings on June 11, 2020," 18 defendants argue that plaintiffs

have not exhausted their administrative remedies because

       [i]f [they] receive an adverse decision from the
       immigration court, they may 1) appeal to the Board of
       Immigration Appeals (BIA) or, 2) file a motion to reopen
       or a motion to reconsider the immigration judge's
       decision per 8 U.S.C. § 1229a(c)(6)-(7) and 8 C.F.R.


       17
            Defendants' Motion to Dismiss, Docket Entry No. 6, p. 5.
       18
      Id. (citing Notice to Appear, Defendants' Exhibit 1, Docket
Entry No. 6-2, pp. 1-4 (Ms. Aguirre), and pp. 5-8 (Mr. Medina)).

                                        8
    Case 4:20-cv-02022 Document 8 Filed on 12/04/20 in TXSD Page 9 of 13




     § 1003.23(b). If Plaintiffs choose to appeal to the BIA
     and receive an adverse decision, Plaintiffs may seek
     review in the Fifth Circuit.    8 U.S.C. § 1252(a)(1),
     (a) (5)   .19


In support of their argument, defendants cite Cardoso v. Reno, 216

F.3d 512, 519 (5th Cir. 2000), in which the Fifth Circuit held that

district courts lack jurisdiction over denial of adjustment of

status applications even in cases where removal proceedings have

not been initiated because there is no direct appeal from an

adjustment of status denial, only the opportunity to reapply for

adjustment of status as part of a deportation proceeding.

     In Cardoso three aliens sought to compel the Attorney General

to adjust their immigration status, permit them to remain in the

United States, and provide them with authorization to work.                216

F.3d at 513.         The Fifth Circuit held that it lacked subject matter

jurisdiction as to all three aliens because the district court

properly held that the effect of 8 U.S.C. § 1252(g) is

     to completely remove from all courts, jurisdiction or the
     ability to hear any claim arising out of the Attorney
     General's decision or action to commence proceedings,
     adjudicate immigration cases, or execute removal orders,
     except to the extent that judicial review of that
     decision is provided for in .    . 8 U.S.C. § 1252[g].



     19
      Id. See 8 C.F.R. §§ 245.2(a)(1)(i) ("In the case of an alien
who has been placed in deportation proceedings or in removal
proceedings (other than as an arriving alien), the immigration
judge hearing the proceeding has exclusive jurisdiction to
adjudicate any application for adjustment of status the alien may
file."). See also 8 C.F.R. §§ 245.2(a)(5)(ii), and (c) (governing
actions that may be taken following a denial of an application to
adjust status).

                                       9
        Case 4:20-cv-02022 Document 8 Filed on 12/04/20 in TXSD Page 10 of 13




Id. at 515 (quoting the district court).              Because two of the three

aliens were subject to removal orders the Fifth Circuit held that

§ 1252(g) barred courts from exercising jurisdiction over their

cases.             Id. at 516-17.   Removal proceedings had not been initiated

against the third alien, but she claimed to fear deportation. Id.

at 517.             Nevertheless, the Fifth Circuit held that courts lacked

jurisdiction over her case because she could renew her application

to adjust status upon the commencement of removal proceedings.                  Id.

at 518 (collecting cases holding no jurisdiction exists where

plaintiffs had not exhausted their administrative remedies even

though removal proceedings had not commenced).               The Fifth Circuit

explained that exhaustion of administrative remedies is required

under 8 U.S.C. § 1252(d), which governs review of final orders and

states in pertinent part that "[a] court may review a final order

of removal only if (1) the alien has exhausted all administrative

remedies available to the alien as of right,                       If
                                                                        8   U. S .c.

§ 1252 (d).            Id.

             Plaintiffs' argument that "all administrative remedies have

been exhausted in this case since they filed a Form I-290B, Notice

of Appeal or Motion,                seeking reconsideration of the decision

denying the application for adjustment of status," 20 is contrary to

the Fifth Circuit's holding in Cardoso that plaintiffs may not



             20
                  Plaintiffs' Response in Opposition, Docket Entry No. 7, p. 3
c:IT   10.

                                            10
   Case 4:20-cv-02022 Document 8 Filed on 12/04/20 in TXSD Page 11 of 13




obtain judicial review of the denial of their applications to

adjust status outside of the removal process.              Although the Fifth

Circuit       has   recently     held   that    federal   courts   may   review

substantive legal issues involving eligibility for adjustment of

status, Nolasco v. Crockett,            978 F.3d 955,     957 (5th Cir. 2020)

(citing Melendez, 928 F.3d at 426-27), the Fifth Circuit has not

held     that    such   review    may   occur    absent   the   exhaustion   of

administrative remedies. Exhaustion of administrative remedies was

not at issue in either Nolasco or Melendez.21             Because plaintiffs'

administrative remedies include the right to de novo review of

their        applications   to    adjust      status   during   their    removal

proceedings, see 8 C.F.R. § 245.2(a)(5)(ii), and because plaintiffs

do not dispute that they were both placed in removal proceedings in

June of 2020, the court concludes that it lacks subject matter

jurisdiction over the claims asserted in this action because the

plaintiffs have failed to exhaust their administrative remedies.

        Because the court lacks jurisdiction over the plaintiffs'

claims, the court does not reach defendants' Rule 12(b)(6) motion.



       See Nolasco, 978 F.3d at 957 & n. 2 (recognizing that the
        21
plaintiffs in both Nolasco and Melendez had received Temporary
Protected    Status  ("TPS"),    and   stating   that   "8   C.F.R.
§ 245.2(a)(5)(ii) provides that '[n]o appeal lies from from the
denial of an application' for adjustment of status, but 'the
applicant . . . renews the right to renew his or her application in
 [removal] proceedings.'   However, Nolasco cannot be placed in
removal proceedings as the government 'shall not remove' him or
others with TPS 'during the period in which such status is in
effect." 8 U.S.C. § 1245a(a)(1)(A).").

                                         11
   Case 4:20-cv-02022 Document 8 Filed on 12/04/20 in TXSD Page 12 of 13




                    III. Plaintiff's Request to Amend

     At the end of Plaintiff's Response in Opposition, plaintiffs

assert that      "[s] hould the    Court grant        Defendants'    motions to

dismiss, Plaintiffs respectfully request the Court grant [them]

leave to amend the complaint to cure any deficiencies." 22                 Federal

Rule of Civil Procedure 15 (a) (2) states that "[t] he court should

freely give leave [to amend] when justice so requires."                  "Although

Rule 15[a] 'evinces a bias in favor of granting leave to amend,' it

is not automatic."      Matter of Southmark Corp., 88 F.3d 311, 314

(5th Cir. 1996),       cert denied, 117 S. Ct. 686             (1997)     (quoting

Dussouy v. Gulf Coast Investment Corp., 660 F.2d 594, 597 (5th Cir.

1981)).     "A decision to grant leave is within the discretion of the

trial court."      Id. (citing State of Louisiana v. Litton Mortgage

Co., 50 F.3d 1298, 1302-1303 (5th Cir. 1995)               (per curiam)).       In

exercising its discretion, a court may consider various criteria

including,     inter   alia,    the   failure    to    cure    deficiencies     by

amendments     previously      allowed    and   futility      of   the   proposed

amendment.      Id. at 314-15 (citing Foman v. Davis, 83 S. Ct. 227,

230 (1962)).      Because plaintiffs have argued that their complaint

is sufficient to establish jurisdiction, and because plaintiffs

have failed either to submit a proposed second amended complaint or

to describe any additional facts that could be alleged in an

amended complaint that could not have been alleged in the complaint


     22
          Plaintiff's Response in Opposition, Docket Entry No. 7, p. 5.

                                         12
   Case 4:20-cv-02022 Document 8 Filed on 12/04/20 in TXSD Page 13 of 13




now before the court, the court is persuaded that plaintiffs have

pleaded their best case, and that any additional attempt to amend

would be futile.     Accordingly, plaintiff's request for leave to

amend will be denied.



                       IV. Conclusions and Order

        For the reasons stated in § II, above, the court concludes

that it lacks subject matter jurisdiction over the claims asserted

in this action because plaintiffs have failed to exhaust their

administrative     remedies.   Accordingly,     Defendants'     Motion     to

Dismiss, Docket Entry No. 6, is GRANTED based on lack of subject

matter jurisdiction.

        For the reasons stated in§ III, above, plaintiffs' request to

amend their complaint to cure deficiencies is DENIED.

        SIGNED at Houston, Texas, on this the 4th day of December,

2020.




                                               SIM LAKE
                                  SENIOR UNITED STATES DISTRICT JUDGE




                                    13
